
600 S.E.2d 854 (2004)
STATE of North Carolina
v.
James Ernest CHAMBERS.
No. 322P04.
Supreme Court of North Carolina.
July 2, 2004.
James Ernest Chambers, Pro Se.
Anne M. Middleton, Assistant Attorney General, for State.

ORDER
Upon consideration of the application filed by Petitioner on the 30th day of June 2004 in this matter for Writ of Habeas Corpus (State Actions), the following order was entered and is hereby certified to the Superior Court, Buncombe County:
"Denied by order of the Court in conference, this the 2nd day of July 2004."
Upon consideration of the application filed by Petitioner on the 30th day of June 2004 in this matter for Writ of Habeas Corpus Ad Testificadum, the following order was entered and is hereby certified to the Superior Court, Buncombe County:

*855 "Denied by order of the Court in conference, this the 2nd day of July 2004."
